Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 1 of 50

Exhibit A

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 2 of 50
Case 9:09-cv-80535-KMM Documenit Entered on FLSD Docket 04/06/2009 Page 1 of 49

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

CASE NO.

KATHERINE L. FOSTER, on behalf of ae o> &
herself individually and all others 0 9 8 0 5 ep 5
similarly situated,

mnt CIV-COHN

Vv. : CIVIL ACTION

: JURY TRIAL DEMANDED

: MAGISTRATE JUDGE
NORTHSTAR HOLDINGS, INC., a : —. SELTZER ~
Florida corporation; NORTHSTAR :
HOMES, INC., a Florida corporation; :
KNAUF GIPS KG, a German corporation; : FILED by AS D.C.
KNAUF PLASTERBOARD :
(TIANJIN) CO., LTD., a Chinese limited — : APR - 3 2009
liability corporation; KNAUF : STEVEN Mt LARIMORE
PLASTERBOARD (WUHU) CO. LTD.; — : SD ofFEA, DIST Cr

KNAUF PLASTERBOARD : ne
(DONGGUAN) CO. LTD.; :

USG CORPORATION, a foreign

corporation, BANNER SUPPLY

CO., a Florida corporation; ROTHCHILT

INTERNATIONAL LTD., a foreign

corporation; Developer/Builder Does |- 100; :

Supplier Does 1-100; Installer Does 1-100;

and Distributer Does 1-100;

Defendants.

CLASS ACTION COMPLAINT

Plaintiff, Katherine 1, Foster, brings this action on behalf of herself and on behalf of a
Class of persons described below. Plaintiff brings this action against Northstar Holdings, Inc.
and Northstar Homes, Inc.; Knauf Gips KG, Knauf Plasterboard (Tianjin) Co., Ltd., and Knauf

Plasterboard (Donguuan) (collectively referred to herein as “Knauf’); USG Corporation, Banner

ALTERS | BOLDT| BRDWN | RASH | CULMO

Miami Design District, 4141 Northeast 2nd Avenue « Suite 201 - Miami, FL 33137 + Telephone: 305-571-8950 Fax: 305-571-8558 « www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 3 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Dockei 04/06/2009 Page 2 of 49

Supply Company, Rothchilt International Ltd.(“Rothchilt”}, Supplier Does 1-100 (collectively
referred to herein as “Suppliers”); Installer Does 1-100 (collectively referred to herein as
“Installers”); and Distributer Does 1-100 (collectively referred to herein as “Distributers”). All
facts contained in this complaint are alleged upon information and belief and based upon the

investigation of counsel.

INTRODUCTION

l. Plaintiff brings this action individually and on behalf of all other similarly situated
owners of homes in the United States built using the defective drywall described herein.
Alternatively, Plaintiff brings this action individually and on behalf of al] other similarly situated
owners of homes in the State of Florida built using the defective drywall described herein.

2. Defendants’ drywall] used in the homes of Plaintiff and the Plaintiff Class
Members is inherenily defective because it emits various sulfide gases and/or other chemicals
through “off-gassing” that creates noxious, “rotten egp-like” odors, and causes damage and
corrosion (“the Defect”) to home structure and mechanical systems such as air-conditioner and
refrigerator coils, copper tubing, faucets, metal surfaces, electrical wiring, and computer wiring,
as well as personal and other property such as microwaves, utensils, personal property, electronic
appliances, jewelry, and other household items (“Other Property”). The compounds emitted by
the drywall at issue are also capable of, among other things, harming the health of individuals
subjected to prolonged exposure. These chemical compounds cause and have caused dangerous
health consequences including, among other things, respiratory problems, sinus problems, eye

irritation and nose bleeds.

ALTERS | BOLDT| BRP WN | RASH | CULMO

Miami Design District, 4141 Northeast 2nd Avenue - Suite 201 + Miami, Fl. 33137 - Telephone: 305-571-B550 Fax: 305-571-8558 - wwiw.abbrelaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 4 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 3 of 49

3. This Defect is latent and existed in Defendants’ drywall at the time of installation
regardless of the way the product was installed, maintained, and/or painted. There is no repair
that will correct the Defect.

4, As a result of Defendants’ conduct as alleged herein, Plaintiff and thousands of
other Class Members have suffered economic losses by owning homes containing inherently
defective drywall that has caused damage to their homes and Other Property.

5. Plaintiff and Class Members have incurred or will incur tens of thousands of
dollars in damages including, but not limited to: repair/replacement of homes, Other Property,
any materials contaminated or corroded by the drywall as a result of “off-gassing,” incidental
and consequential damages.

6. Further, as a result of Defendants’ conduct as alleged herein, Plaintiff and
thousands of others Class Members have suffered harm and/or been exposed to an increased risk
of harm and thus have need for injunctive and/or equitable relief in the form of emergency
notice, environmental monitoring, and medical monitoring.

JURISDICTION AND VENUE

7. The Court has subject matter jurisdiction over this nationwide class action
pursuant to 28 U.S.C. § 1332 because the matter in controversy exceeds $5,000,000, exclusive of
interest and costs, and is a class action in which at least one plaintiff is diverse from at least one
defendant.

g. Venue is proper in this District under 28 U.S.C. § 1391(a), (b), and (c).
Defendants are incorporated and headquartered within this Federal Judicial District, advertise in

this District, build homes in this District, have made material omissions and misrepresentations

ALTERS | BOLDT BROWN RASH | CULMO

Miami Design District, q1q41 Northeast 2nd Avenue + Suite 207 « Miami, FL 33137 - Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 5 of 50
Case 9:09-cv-80535-KMM Document i Entered on FLSD Docket 04/06/2009 Page 4 of 49

and breaches of warranties emanating from this District, or are otherwise subject to personal
jurisdiction in this District.

THE PARTIES

PLAINTIFF

9. Plaintiff, Katherine L. Foster, lives and resides in Palm Beach County, and owns
and resides in a home focated at 8777 Cobblestone Preserve Court, Boynton Beach, Florida
33472. Plaintiffs home was built by the Northstar Defendants using defective drywall in
approximately 2006. Plaintiff has had substantial problems with the home, including but not
limited to the corrosive effects of the sulfur and/or other compounds in the drywall, has suffered
adverse medical effects and personal injury, and has suffered injury to personal and real property
as a result of Defendants’ conduct as further described herein.

DEFENDANTS

Developer/Builder Defendants: Northstar Holdings, Inc. and Northstar Homes, Inc.

10. Defendant Northstar Holdings, Inc. is a Florida for Profit Corporation with its
principal place of business in Palm Beach County, Florida.

11. Defendant Northstar Homes, Inc. is a Florida for Profit Corporation with its
principal place of business in Palm Beach County, Florida.

12. Defendants Northstar Holdings, Inc. and Northstar Homes, Inc. are affiliated
companies located at the same address and having the same principal officers and directors. The
Northstar Defendants operate under the trade name of “Northstar Homes” (collectively referred
to as “the Northstar Defendants,” “Northstar Homes,” or “Builder’). Northstar Homes is a

leading South Florida home builder and since iis inception it has built thousands of homes in

ALTERS BOLDT | BROWN | RASH | CULMO

Miami Design District, 4141 Northeast 2nd Avenue - Suite 201+ Miami, FL 99137 « Telephone: 305-571-8550 Fax: 305-571-8558 « www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 6 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 5 of 49

numerous communities in the State of Florida. Northstar Homes developed and built
“Cobblestone Creek,” the community where the Plaintiff's home is situated.

13. Upon information and belief, the Northstar Defendants, and John Doe
Builder/Developer Defendants, installed defective drywall in the Plaintiff's and Class Members’
homes located in the State of Florida. Defendants’ acts or omissions, directly or indirectly
through its agents, employees, or affiliates, with respect to the defective drywall have injured
Plaintiff and Class Members as alleged herein.

Manufacturer Defendants: Knauf Entities

14. Defendant Knauf Gips is a German corporation doing business in the State of
Florida with its principal place of business located at Postfach 10, D-97343 Iphofen, Germany.
Knauf Gips is a leading manufacturer of building materials and systems. Knauf Gips, together
with its affiliates (including Knauf Tianjin, Knauf Wuhu, and Knauf Dongguan), provides
building materials and systems to customers in over 50 countries, including the United States.
Upon information and belief, at all material times hereto, Knauf Gips supervised, operated,
trained and otherwise exercised control and/or had the right to contro] the operations of Knauf
Tianjin, and its agents, apparent agents, and employees.

15. Among other things, in 1995, Knauf Gips introduced its advanced production
techniques and technology into China. From 1997 through 2001, Knauf Gips invested in China
and established three plasterboard plants which are located in Wuhu, Tianjin and Dongguan.
The product quality of all Knauf Gips’ plants in China, including Knauf Tianjin, are strictly
controlled according to the requirements of Knauf Gips’ headquarters in Germany. Moreover,

Knauf Gips’ sales and technical support teams support Knauf Gips’ businesses throughout the

ALTERS | BOLDT | BROWN | RASH | CULMO

Miami Design District, 4141 Northeast 2nd Avenue - Suite 201 - Miami, FL 39137 - Telephone: 305-571-8550 Fax: 305-571-8559 « www.abbrelaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 7 of 50
Case 9:09-cv-80535-KMM Documenti Entered on FLSD Docket 04/06/2009 Page 6 of 49

worid, including Knauf Tianjin in China. Knauf Tianjin and its employees are the actual and/or
apparent agents in Knauf Gips.

16. | Upon information and belief, Knauf Gips, together with its affiliates and/or actual
or apparent agenis, including Knauf Tianjin, manufactured, sold, distributed, marketed and
placed within the stream of commerce gypsum drywall with the expectation that the drywall
would be purchased by thousands of consumers, if not more, within the United States, including
Florida, Upon information and belief, Knauf Gips and/or Knauf Tianjin has continuously and
systematically distributed and sold drywall to numerous purchasers in the State of Florida and
throughout the United States, and their drywall is installed in numerous homes in the United
States, including Florida. As discussed more fully below, Knauf Gips and/or Knauf Tianjin
manufactured and sold, directly or indirectly, to certain suppliers in the United States and
Florida, including Defendants USG Corporation, Banner Supply, Rothchilt, and Does 1-100,
defective gypsum drywall that was installed in homes being built by Northstar Homes and
others, thereby causing substantial damage to Plaintiff and the Class. Moreover, Knauf Gips
and/or Knauf Tianjin purposefully availed themselves of the jurisdiction of this Court by selling
and shipping substantial quantities of drywall into the United States and the State of Florida and
by hiring agents within the State of Florida to investigate the very allegations at issue in this
lawsuit.

17. Knauf Gips employs approximately 20,000 employees worldwide, with more than
130 production plants, and penerates annual sales in excess of €4.8 billion.

18. Knauf Gips provided defective drywall to one or more of the Plaintiffs’ homes.

19. Knauf Gips improperly manufactured, marketed, and later distributed the subject

defective drywall in the United States, including Florida. Defendant also failed to provide

ALTERS BOLDT| BROWN | RASH | CULMO

Miami Design District, 4141 Northeast and Avenue - Suite 201 Miami, FL 33137 * Telephone: 305-571-8550 Fax: 305-571-8558 = www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 8 of 50
Case 9:09-cv-80535-KMM Document 1 Entered on FLSD Docket 04/06/2009 Page 7 of 49

adequate wamings regarding the hazardous and defective nature of Chinese drywall in the
United States, including Florida.

20. The quality of all Knauf Gips’ Chinese drywall plants in China is supervised,
overseen, and controlled according to the requirements of Knauf Gips’ headquarters in Germany.

21. Knauf Tianjin, Knauf Wuhu, and Knauf Dongguan and their employees are the
actual and/or apparent agents of Knauf Gips.

22. Upon information and belief, Knauf Gips by itself and/or through its agents,
subsidiaries, and/or affiliates (including Knauf Tianjin, Knauf Wuhu, and Knauf Dongguan) has
continuously and systematically distributed and sold drywall to numerous purchasers in the
United States, including Florida, with the knowledge that its drywall would be and is insta!led in
numerous homes in the United States, including Florida.

23. As discussed more fully below, Knauf Gips by itself and/or through its agents,
subsidiaries and affiliates (including Knauf Tianjin, Knauf Wuhu, and Knauf Dongguan)
manufactured, exported, imported, distributed, delivered, supplied, inspected, marketed, and/or
sold, directly and indirectly, to certain suppliers in the United States and Florida, including
Defendants USG Corporation, Banner Supply, Rothchilt, and Supplier/Installer/Distributer Does
1-100, defective Chinese drywall that was installed in homes being built in the United States,
including Florida, thereby causing substantial damage to Plaintiff and Class Members in the
United States, including Florida.

24, Knauf Gips and each Knauf Entity, (Defendants Knauf Tianjin, Knauf Wuhu, and

Knauf Dongguan) participated in the wrongful acts herein,

ALTERS | BOLDT| BROWN | RASH | CULMO

Miami Design District, 4141 Northeast 2nd Avenue - Suite 201 - Miami, FL 33197 - Telephone: 305-571-8550 Fax: 305-571-8558 + www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 9 of 50
Case 9:09-cv-80535-KMM Document 1 Entered on FLSD Docket 04/06/2009 Page 8 of 49

25. Knauf Gips and each Knauf Entity, (Defendants Knauf Tianjin, Knauf Wuhu, and
Knauf Dongguan) also acted in joint enterprise, joint venture and as each other’s agent within the
course and scope of said agency.

26. At all times relevant hereto, Defendant Knauf Gips and each Knauf Entity,
(Defendants Knauf Tianjin, Knauf Wuhu, and Knauf Dongguan) acted by and through their
employees, agents, apparent agents and representatives, who were acting within the course and
scope of their employment, agency, apparent agency and representation and in the furtherance of
Defendants” interests.

27. Defendant Knauf Gips is the parent corporation of the Knauf Entities (Defendants
Knauf Tianjin, Knauf Wuhu, and Knauf Dongguan). Knauf Gips individually participated,
ratified, approved and directed the improper or illegal acts and omissions described herein.
Knauf Gips’ Chinese Drywall Distribution

28. | Upon information and belief, iens of milhons of square feet of Defendant Knauf
Gips defective drywall was used in the construction of United States homes, including Florida
homes, between 2004 and the present.

29. Because of a shortage of construction matenals from a booming housing market
and massive damage in the United States in 2005 caused by Hurricanes Katrina and Wilma,
domestic builders, suppliers, and importers began bringing significant stocks of foreign
manufactured drywall into the United States.

30, At least 550 million pounds of Chinese drywall came into the United States from

approximately 2004 to 2006 -- enough to construct 60,000 average-size homes.

ALTERS | BOLDT| BROWN | RASH | CULMO

Miami Design District, 4141 Northeast and Avenue - Suite 201 - Miami, FL 33137 + Telephone; 305-571-8550 Fax: 305-571-8558 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 10 of 50
Case 9:09-cv-80535-KMM Documenit1 Entered on FLSD Docket 04/06/2009 Page 9 of 49

31. Nearly 60 percent of the Chinese drywall that came into the United States came in
through Florida ports, as well as ports located in other U.S. States, including Louisiana, Texas,
and ports along the east coast of the United States.

32. Miami’s port received the largest number of shipments of Chinese drywall.
Public records show that more than 100 million pounds of Chinese drywall were off-loaded in
Miami. Other ports with significant Chinese drywall off-loading include Port Everglades (80
million pounds), Tampa (50 million pounds), as well as Port Manatee, Pensacola, Port
Canaveral, and Jacksonville.

33. Atleast 37 million pounds of Knauf drywall was shipped directly from three sites
in China to Florida through Tampa and Port Canaveral. Knauf Tianjin sent an additional amount
(characterized by company officials as “most” of its drywall} into Miami.

34. In March 2006, Knauf Dongguan shipped 11 million pounds of Chinese drywall
aboard the cargo ship Afra. This shipment was unloaded in Port Canaveral.

35. In the spring of 2006, the cargo ship Great /mmensity unloaded one shipment of
more than 16 million pounds of Chinese drywall manufactured by Knauf Tianjin -- enough to
make approximately 1,700 homes. The Great Jmmensity unloaded shipments at more than two
dozen ports throughout the United States, including seven in Florida.

36. Shipping records show coordination between Knauf’s Chinese subsidiaries, such
as sharing the same vessel to transport their product to the U.S. In April 2006, the Yong An
Cheng took three shipments from Knauf Wuhu and a fourth from Knauf Dongguan to the U.S.
All were imported by United States Gypsum Corporation, one of the largest manufacturers of

domestic drywall in the U.S. market.

ALTERS | BOLDT| BRAWN | RASH CULMO

Miami Design District, 4141 Northeast znd Avenue - Suite 201 - Miami, FL 33197 - Telephone: 305-571-8550 Fax: 305-571-8558 « www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 11 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 10 of 49

37. Knauf Tianjin, one of three Knauf Gips Chinese subsidiaries, admits that it
manufactured and imported at least 20 percent of the imported Chinese drywall that came into
the United States.

38. Shipping information indicates that Knauf Tianjin sent at least 38.7 million
pounds Chinese drywall to the United States in 2006 and Knauf Wuhu sent at least 28.6 million
pounds of Chinese drywall. Based on U.S. Customs and Census information, these figures
would indicate that 78 percent of Chinese drywall imports in 2006 came from these two Knauf
plants.

39. Many builders in the United States and Florida have admitied using Knauf
Chinese drywall in communities throughout the United States and Florida.

Knauf Gips’ Subsidiary-Knauf Tianjin

40. Upon information and belief, Defendant Knauf Tianjin, is an international
corporation organized under the laws of China doing business in the State of Florida with its
principal place of business located at North Yinhe Bridge, East Jingjin Road, RC-300400,
Tianjin, China,

41. Defendant Knauf Tianjin manufactured and distributed defective drywall that is in
one or more of Plaintiffs’ homes.

42, Knauf Tianjin improperly manufactured, marketed, and distributed the subject
defective drywall in the United States. Defendant also fatled to provide adequate warnings

regarding the hazardous and defective nature of its defective drywall in the United States.

ALTERS | BOLDT| BROWN | RASH | CULMO

Miami Design District, 4141 Northeast and Avenue - Suite 201 + Miami, FL 33137 - Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrclaw.cam

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 12 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 11 of 49

Knauf Gips’ Subsidiary-Knauf Wuhu

43. Upon information and belief, Defendant, Knauf Wuhu, is an international
corporation organized under the laws of China doing business in the State of Florida with its
principal place of business located at No. 2 Gang Wan Road, RC-241009, Wuhu Anhui, China.

44. Defendant Knauf Wuhu manufactured and distributed defective drywall that is in
one or more of Plaintiffs’ homes.

45. Knauf Wuhu improperly manufactured, marketed, and distributed the subject
defective drywall in the United States. Defendant also failed to provide adequate warnings
regarding the hazardous and defective nature of its defective drywall in the United States.

Knauf Gips’ Subsidiary-Knauf Dongguan

46. | Upon information and belief, Defendant Knauf Dongguan, is an international
corporation organized under the laws of China doing business in the State of Florida with its
principal place of business located at No.2 Xinsha Development Zone, RC-523147, Guangdong,
China.

47, Defendant Knauf Dongguan manufactured and distributed defective drywall that
is in one or more of Plaintiffs’ homes.

48. Knauf Dongguan improperly manufactured, marketed, and distributed the subject
defective drywall] in the United States. Defendant also failed to provide adequate warnings

regarding the hazardous and defective nature of its defective drywall in the United States.

ALTERS | BOLDT| BROWN | RASH | CULMO

Miami Design District, 4141 Northeast and Avenue + Suite 201 - Miami, FL 33137 « Telephone: 305-571-8450 Fax: 305-571-8598 - www.abbrciaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 13 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 12 of 49

Defendant Distributors/Suppliers
Defendant USG Corporation

49, Defendant USG Corporation is a Delaware corporation authorized to do and
doing business in the State of Florida. USG, together with its various affiliates, is the nation’s
largest distributor of drywall and related building products.

50. Defendant USG Corporation exported, imported, manufactured, distributed,
delivered, supplied, inspected, marketed, and/or sold defective drywall in the United States,
including Florida. Directly or indirectly through agents, affiliates or co-conspirators, Defendant
USG Corporation’s acts or omissions related to defective Drywall have injured Plaintiff and
Class Members as alleged herein.

Defendant Banner Supply

51. Defendant Banner Supply is a Florida corporation with its principal place of
business located in the Southern District of Florida at 7195 N.W. 30" Street, Miami, Miami-
Dade County, Florida 33122.

52. Defendant Banner Supply exported, imported, distributed, delivered, supplied,
inspected, marketed, and/or sold defective drywall in the State of Florida. Directly or indirectly
through agents, affiliates or co-conspirators, Defendant Banner Supply’s acts or omissions
related to defective Drywall have injured Plaintiff and Class Members as alleged herein.
Defendant Rothchilt International Ltd.

53, Defendant Rothchilt is a foreign corporation doing business in the State of Florida
with its principal place of business located at N-510 Chia Hsin Bld., Annex 96 Chung Shan N.

Rd. Sec. 2, Taipei, Taiwan R.O.C.

ALTERS | BOLDT | BROWN | RASH | cCULMO

Miami Design District, 4141 Northeast 2nd Avenue + Sulte 201 « Miami, FL 39137 « Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrelaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 14 of 50
Case 9:09-cv-80535-KMM Document 1 Entered on FLSD Docket 04/06/2009 Page 13 of 49

54. Defendant Rothchilt exported, imported, manufactured, distributed, delivered,
supplied, inspected, marketed, and/or sold defective drywall in the United States, including
Florida. Directly or indirectly through agents, affiliates or co-conspirators, Defendant
Rothchilt’s acts or omissions related to defective Drywall have injured Plaintiff and Class
Members as alleged herein.

55. Defendant Distributor/Suppliers USG Corporation, Banner Supply and Rothchilt
also failed to provide adequate warnings regarding the hazardous and defective nature of their
defective drywall in the United States.

56. The identities of Distributor Does 1-100, Supplier Does 1-100, and Installer Does
1-100 are unknown to Plaintiff at this time. These John Doe Defendants are builders, installers,
and suppliers of defective drywall whom Plaintiff has not yet been able to identify. When the
identities of these individuals and/or entities are discovered, undersigned counsel will amend the
Complaint to specifically name the Defendants referred io as Distributor Does 1-100, Supplier
Does 1-100, and Installer Does 1-100.

GENERAL ALLEGATIONS

A. Drywall Background

57. Drywall is also commonly known as gypsum board, wallboard, plasterboard, rock
lath, sheetrock, gyproc, or simply, board.

58. A drywall panel is made of a paper liner wrapped around an inner core made
primarily from hardened gypsum plaster.

59, Drywall is typically available in 4 feet (1219 mm) wide sheets of various lengths.

Newly formed sheets are cut from a belt, the result of a continuous manufacturing process.

ALTERS | BOLDT| BRGWN | RASH | CULMO

Miami Design District, 4141 Northeast 2nd Avenue - Suite 201 + Miami, FL 33137 + Telephone: 305-571-8550 Fax: 905-571-8558 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 15 of 50
Case 9:09-cv-80535-KMM Document? Entered on FLSD Docket 04/06/2009 Page 14 of 49

60. The most commonly used drywall is ‘4 inch thick but can range from 4 inch (6.35
mm) to one inch (25.4 mm} thick.

61. The core material of drywall, gypsum, is available in two forms, pure gypsum,
which is naturally occurring, and synthetic gypsum, which is manmade.

62. Pure gypsum is a white to transparent mineral, but sometimes impurities color it
grey, brown, or pink.

63. Synthetic gypsum is generally manufactured with byproducts of coal-fired power
plants.

64. Coal combustion byproducts (“CCBs”) or coal combustion products (“CCPs”) are
the inorganic residues that remain after pulverized coal is burned.

65. The primary CCBs used in drywall are byproducts resulting from a utility’s
attempts to remove sulfur from flue gases.

66. In order to meet emission standards, many utilities have installed flue gas
desulfurization (“FGD”) equipment. Flue gas desulfurization is a chemical process to remove
sulfur oxides from the flue gas at coal-burning power plants.

67. Various FGD methods have been developed that chemically combine the sulfur
gases released in coal combustion by reacting them with a sorbent, such as limestone or lime.

68. As the flue gas comes in contact with the slurry of calcium salis, sulfur dioxide
reacts with the calcium to form hydrous calcium sulfate, otherwise known as gypsum.

B. How Drywail Is Created
69, In order to form drywall, gypsum must be “calcined,” or partially dehydrated by

heating.

ALTERS | BOLDT | BRAWN | RASH | cULMO

Miami Design District, 4141 Northeast and Avenue - Sulte 201 - Miami, FL 33137 + Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrelaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 16 of 50
Case 9:09-cv-80535-KMM Document i Entered on FLSD Docket 04/06/2009 Page 15 of 49

70. When gypsum is heated, it loses about three quarters of its water and becomes
hemihydrate gypsum which is soft and can be easily ground to a powder called hemihydrate
gypsum plaster.

71, | The gypsum powder is then mixed with water to form a paste or slurry.

72. While the hemihydrate gypsum plaster is in slurry form, tt is poured between two
paper layers to make drywall.

73. Drywall is formed by sandwiching a core of wet gypsum between two sheets of
heavy paper or fiberglass mats. When the core sets and is dried in a large drying chamber, the
“sandwich” becomes rigid and strong enough for use as a building material.

74. The paste or slurry is typically mixed with fiber (usually paper and/or fiberglass),
plasticizer, foaming agent, potash as an accelerater, starch or other chelate as a retarder, various
additives that increase mildew and fire resistance (fiberglass or vermiculite), and water.

75, Drywal] may consist of two other materials with sulfur content: alkyl ethoxy
sulfates as foaming agents and lignin or napthalene sulfonates as dispersing agents.

C. The Defective Drywall Emits Noxious and Corrosive Levels of Sulfur

76. Upon information and belief, Defendants’ drywall contained naturally mined
gypsum and synthetic gypsum manufactured from CCBs.

77. When gypsum, mined or synthetic, is subjected to certain environmental
conditions, the product breaks down into sulfate ions which in tum can be chemically
transformed into hydrogen sulfide gas and other sulfide pases.

78. The problem of sulfide emissions from drywall is well understood in the drywall

industry and has been studied for many years.

ALTERS | BOLDT| BROWN | RASH | CULMO

Miami Design District, 4141 Northeast 2nd Avenue - Suite 201 - Miami, FL 33137 « Telephone: 305-571-8550 Fax: 305-571-8558 > www.abbrclaw.cam

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 17 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Dockei 04/06/2009 Page 16 of 49

79. The level of sulfides emitted from drywall may depend, in part, on contamination
of the drywall with sulfur materials or the use of contaminated gypsum materials.

80. Sulfide emissions from drywall have been a particular problem in landfills and, as
such, many landfills refuse to accept drywall or place strict limitations on the amounts and on the
ways in which drywall can be disposed. An independent consulting firm, hired by a Miami-based
builder, has concluded there is little doubt that ihe drywall manufactured by Defendants js the
cause of the corrosion in many residents’ homes.

81. | One of the managing principles of the independent testing firm stated that: “We
have definitely identified that a combination of sulfide pases are the cause of the corrosion of the
coils. The substances we’ve found are wel! known to cause that kind of corrosion.”

82. The firm’s December 2008 results found three sulfide gases: carbon disulfide,
carbonyl sulfide and dimethyl] sulfide.

83. Hydrogen sulfide was found in previous testing that the company conducted on
the Defendants’ drywall: “Our previous studies indicate, however, thal carbon disulfide, carbony]
sulfide, and hydrogen sulfide are gases that can be associated with emissions from Chinese
drywall.”

84. According to a Knauf statement, the company “is doing its own investigation, and
believes the problem drywall came from a specific [gypsum] mine, which also supplied other
manufacturers.” According to Knauf, the company stopped using the questionable mine in 2006.

85. According to published reports, however, some independent environmental
testing firms and building experts have said the source of the drywall problem is waste materials

from the scrubbers of coal-fired power plants used to make the drywall in China.

ALTERS | BOLDT | BREWN | RASH CULMO

Miami Design District, 4141 Northeast znd Avenue - Suite 201 - Miami, FL 33137 - Telephone: 305-571-8550 Fax: 305-571-8558 » www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 18 of 50
Case 9:09-cv-80535-KMM Document 1 Entered on FLSD Dockei 04/06/2009 Page 17 of 49

86. Knauf’s 2009 statement also noted: “Until last year in Florida, no complaint had
been raised and no product had been rejected because of odor or impacts to copper in the nine
years of [Knauf Tianjin’s] operation.”

87. Knauf received complaints from builders and contractors about “rotten egg”
smells coming from its Chinese-manufactured drywall as far back as 2006.

88. In November 2006, in response to reports of odors associated with its drywall,
Knauf hired the Center for Toxicology and Environmental Health, L.L.C. (CTEH) to conduct an
air quality investigation in five homes in Florida.

89.  Knauf’s 2009 statement also declared: “The sulfur compounds detected in testing
in homes have been found at no greater levels than air outside homes or in soil, marshes or the
ocean,”

90. Knaufs 2006 testing revealed, however, that its product released detectable,
above-background levels of various sulfur containing compounds. In particular, Knauf’s testing
revealed the presence of iron disulfide from its Chinese Drywall as the likely source of the sulfur
smells. Knauf’s testing agency declared: “These data indicate that certain naturally-occurring
sulfur-containing compounds can be emitted from the Knauf Tianjin product at concentrations
higher than present in background air.”

91. One importer acknowledged in published reports that the defective Chinese
Drywall was “well known in the industry” by 2007.

92, No member of the Class could have discovered the existence of the defect in the
Chinese-manufactured drywall until press reports about the defects were released in December

2008.

ALTERS | BOLDT | BROWN | RASH cULMO

Miami Design District, 4141 Northeast znd Avenue « Suite 201 - Miami, FL 33137 - Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 19 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 18 of 49

D. The Need for Medical Monitoring for the Health Effects of Sulfur Emitting Drywall

93. Hydrogen sulfide (“H2S”), one of the chemicals found 10 have been released from
drywall, is considered a broad-spectrum poison, meaning that it can poison several different
systems in the body, although the nervous system is most affected.

94, The toxicity of H2S is comparable with that of hydrogen cyanide. It forms a
complex bond with iron in the mitochondrial cytochrome enzymes, thereby blocking oxygen
from binding and stopping cellular respiration.

95. Exposure to lower concentrations of sulfides can result in eye lTitation, a sore
throat and cough, nausea, shortness of breath, and fluid in the lungs.

96. Long-term, Jow-level exposure to sulfides has been associated with fatigue, loss
of appetite, headaches, irritability, poor memory, and dizziness. Chronic exposure to low levels
of sulfides has also been implicated in increased miscarriage and reproductive health issues,

37. Defendants tortiously manufactured, exported, imported, distributed, delivered,
supplied, inspected, installed, marketed, and/or sold defective drywall, which was unreasonably
dangerous in its normal use, in that the drywall caused corrosion and damage to the structure and
mechanical systems of homes, as well as Other Property in Plaintiff's and Class Members’
homes, and it caused medical ailments, including allergic reactions, coughing, sinus and throat
infection, eye irritation, breathing disorders, other health problems, and/or significantly increased
the risk of contracting a serious Jatent disease.

98. As adirect and proximate result of Defendants’ actions and omissions, Plaintiff's
and the Class Members’ homes and bodies have been exposed to Defendants’ drywall and the
corrosive and harmful effects of the sulfide gases and other chemicals being released from these

proven hazardous substances.

ALTERS | BOLDT| BRQWN | RASH | CULMO

Miami Design District, qiqi Northeast 2nd Avenue + Suite 207 - Miami, FL 93137 - Telephone: 305-571-8550 Fax: 305-571-8558 + www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 20 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 19 of 49

99. As a direct and proximate result of Defendants’ defective drywal! and the
corrosive effects of the sulfide gases and other chemicals being released from these products, the
Plaintiff and the Class Members have suffered, and continue to suffer damages. These damages
include, but are not limited to, costs of inspection as well as the costs and expenses necessary io
remedy, replace and remove the defective drywall and Other Property that has been affected.

100. As a direct and proximate result of Defendants’ defective drywall and the
corrosive effects of the sulfide gases and other chemicals being released from these products, the
Plaintiff and the Class Members have suffered, and continue to suffer damages for injuries from
medical ailments.

101. As a direct and proximate result of Defendants’ defective drywall and the
corrosive effects of the sulfide gases and other chemicals being released from these products,
Plaintiff and Class Members have been exposed to above-background levels of sulfides and other
harmful chemicals, have been placed at an increased risk of disease, and have need for injunctive
relicf in the form of emergency notice, environmental] testing and monitoring, and medical
monitoring.

E. The Sulfur Emitting Drywall Injures the Health of Affected Homeowners

102. This defective drywall causes adverse health consequences such as respiratory
problems, sinus problems, eye irritation and nosebleeds, in addition to the creation of noxious
odors, which smell like “rotten eggs.”

Conditions Precedent
103. All notice required by Chapter 558, Florida Statutes, and conditions precedent to

bringing this action have been met or will have been met or were waived by Defendants.

ALTERS | BOLDT | BRAWN | RASH | CULMO

Miami Design District, 4141 Northeast 2nd Avenue + Suite 201 - Miami, FL 33137 + Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrclaw.cam

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 21 of 50
Case 9:09-cv-80535-KMM Documenti Entered on FLSD Docket 04/06/2009 Page 20 of 49

CLASS ACTION ALLEGATIONS

104. Plaintiff brings this case as a Class Action pursuant to Fed. R. Civ. P. 23
individually and on behalf of a class defined as:

All owners and residents of homes in the United States, which contain drywall
manufactured, sold or installed by Defendants that emits excessive amounts of
sulfur as well as any individual or entity that paid for or performed repairs of
damage caused by the drywall. Defendants, their officers, directors, subsidiaries,
or any person or other entity related to, affiliated with or employed by Defendants
are excluded from the Class Definition.

Expressly excluded from the Classes defined above are:

A. Defendants and any enlities in which Defendants have a controlling
interest;
B. Any entities in which Defendants officers, directors, or employees are

employed and any of the legal representatives, heirs, successors or assigns of Defendants;
C. The Judge and Magistrate to whom this case is assigned and any member
of the Judge’s or Magistrate’s immediate family; and
D. AH] persons or entities that properly execute and timely file a request for
exclusion from the Class.
105. In the aliernative, Plaintiff brings this case as a Class Action pursuant to Fed. R.
Civ. P. 23 individually and on behalf of a class of all others similarly situated in the State of
Florida, defined as:
All owners and residents of homes in the State of Florida, which contain drywall
manufactured, sold or installed by Defendants that emits excessive amounts of
sulfur as well as any individual or entity that paid for or performed repairs of
damage caused by the drywall]. Defendants, their officers, directors, subsidiaries,
or any person or other entity related to, affiliated with ar employed by Defendants

are excluded from the Class Definition.

Expressly excluded from the Classes defined above are:

ALTERS | BOLDT BROWN | RASH CULMO

Miami Design District, 4141 Northeast 2nd Avenue « Sulte 201 - Miami, FL 93137 - Telephone: 305-571-85$0 Fax: 305-571-8558 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 22 of 50
Case 9:09-cv-80535-KMM Document 1 Entered on FLSD Docket 04/06/2009 Page 21 of 49

A. Defendants and any entities in which Defendants have a controlling
interest;

B. Any entities in which Defendants officers, direciors, or employees are
employed and any of the legal representatives, heirs, successors or assigns of Defendants;

Cc. The Judge and Magistrate to whom this case is assigned and any member
of the Judge’s or Magisirate’s immediate family; and

D. All persons or entities that properly execute and timely file a request for
exclusion from the Class.

NUMEROSITY

106. The Class is so numerous that the individual joinder of al its members, in this or
any action, is impracticable. The exact number or identification of Class members is presently
unknown to Plaintiff, but it is believed that Class members number at least in the thousands. The
identity of Class members is ascertainable. Class members may be informed of the pendency of
this Class action by a combination of direct mail and public notice, or other means.

COMMONALITY

107. Common questions of fact and law exist as to all members of the Class, which
predominate over questions affecting only individual members of the Class, These include, but

are not limited to, the following:
a. Whether Defendants manufactured and sold defective drywall;

b. Whether Defendants are liable for the repair and replacement of all

defective drywall;

c. Whether Defendants are liable for the repair and replacement of all

ALTERS | BOLDT | BROWN RASH | CULMO

Miami Design District, 4141 Northeast 2nd Avenue « Suite 201 > Miami, FL 33137 - Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrelaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 23 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 22 of 49

damaged items in the affected homes;

d. Whether Defendants are liable for the adverse medical consequences

of the defective drywall;

e. Whether Defendants deliberately concealed information about the

defective drywall from the Class;

i. Whether Defendants negligently, recklessly or intentionally

concealed information about the defective drywall;

g. Whether Defendants breached express warranties;
h. Whether Defendants breached implied warranties;
1. Whether Plaintiffs are entitled to compensatory, punitive, and other
damages as a result of Defendants acts and/or omissions;
j. Whether Defendants are guilty of fraudulent misrepresentation;
k. Whether Defendants are guilty of fraudulent concealment;
L Whether Defendants are guilty of negligence;
TYPICALITY

108. Plaintiffs claims are typical of the claims of the Class and all such claims arise

out of the wrongful course of conduct engaged in by Defendants.

ALTERS | BOLDT| BROWN | RASH | CULMO

Miami Design District, 4iq1 Northeast 2nd Avenue + Suite 201 - Miami, FL 93137 - Telephone: 305-571-8550 Fax: 305-577-8558 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 24 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 23 of 49

ADEQUACY OF REPRESENTATION

109, Plaintiff is an adequate representative of the Class because she is a member of the
Class and her interests do not conflict with the interests of the members of the Class she seeks to
represent. Plaintiff is represented by experienced and able counsel who have litigated numerous
class actions, and Plaintiff's counsel intends to prosecute this action vigorously for the benefit of
the entire Class. Plaintiff and her counsel can fairly and adequately protect the interests of the
members of the Class.
RULE 23(B) CERTIFICATION

110. Class certification is also appropriate in this action because:

a. Pursuant to Fed.R.Civ.P. 23(b)(1}(A), the prosecution of separate actions by
individual Class Members would create a risk of inconsistent and varying
adjudications concerning the subject of this action, which adjudications could
establish incompatible duties for Defendants under the Jaw alleged herein.

b. In seeking declaratory relief from Defendants’ conduct alleged herein, pursuant to
Fed.R.Civ.P. 23(b)(2), Defendants have acted or refused to act on grounds that
apply generally to the Class, such thai declaratory relief would be appropriate to
the Class as a whole.

c. Pursuant to Fed.R.Civ.P. 23(b)(3) the questions of law and fact common to all
Class Members predominate over any questions that might arise as {to an
individual member, such that a Class Action is the superior, fair and efficient
method of adjudicating this controversy where, as here, individual claims would

be identical or nearly identical.

ALTERS | BOLDT | BROWN | RASH | CULMO

Miami Design District, 4141 Northeast and Avenue - Suite 201 + Miami, FL 33137 » Telephone: 305-571-8550 Fax: 305-571-8598 - www.abbrelaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 25 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 24 of 49

EQUITABLE TOLLING OF APPLICABLE STATUTES OF LIMITATIONS

111. The running of any statute of limitations has been tolled due to Defendants’
fraudulent concealment. By failing to disclose a known defect to Plaintiff and the Class,
and misrepresenting the nature of their product as safe for its intended use, actively
concealed from Plaintiff and the Class the true risks associated with their drywall.

112. Plaintiff and the Class could not have reasonably known or have learned of
the manufacturing defect alleged herein and that those risks were a direct and proximate
result of Defendants’ acts and omissions.

113. In addition, Defendants are estopped from relying on any statute of
limitations because of their fraudulent concealment of the defective nature of their drywall.
Defendants were under a duty to disclose the true information about their product and they
failed in that duty to Plaintiff and the Class,

114. Plaintiff and the Class had no knowledge that Defendants were engaged in
the wrongdoing alleged herein due to the acts of fraudulent concealment alleged herein.

COUNT I

NEGLIGENCE
(Against All Defendants)

115. Plaintiff incorporates and restates paragraphs 1-114 as if fully set forth
herein.

116. Defendants owed a duty to Plaintiff and Class Members to exercise
reasonable care in the a) design, b) manufacturing, c) exporting, d) importing, e)

distributing, f) delivering, g) supplying, h) inspecting, i) installation, j) marketing, and/or

ALTERS | BOLD? | BROWN | RASH | cuULMO

Miami Design District, 4141 Northeast 2nd Avenue - Suite 201 - Miami, FL 33137 + Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 26 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 25 of 49

k) selling drywall, including a duty to adequately warn of its failure to do the same.
Defendants’ duties include, but are not limited to the following:
a. using reasonable care in the design of the drywall to prevent it from
containing Defects as set forth herein;
b. using reasonable care in the manufacturing of the drywall to prevent it
from containing Defects as set forth herein;
c. using reasonable care in the exporting of the drywall to prevent it from
containing Defects as set forth herein;
d. using reasonable care in the importing of the drywall to prevent it from
containing Defects as set forth herein;
e. using reasonable care in the distributing of the drywall to prevent it from
containing Defects as set forth herein;
f. using reasonable care in the delivering of the drywall to prevent it from
containing Defects as set forth herein;
g. using reasonable care in the supplying of the drywall to prevent it from
containing Defects as set forth herein;
h, using reasonable care in the inspecting of the drywall to prevent it from
containing Defects as set forth herein;
i. using reasonable care in the marketing of the drywall to prevent it from
containing Defects as sei forth herein;
j. using reasonable care in the selling of the drywall to prevent it from

containing Defects as set forth herein;

ALTERS | BOLDT | BROWN | RASH | CULMO

Miami Design District, 4147 Northeast and Avenue + Suite 2017» Miami, FL 33137 « Telephone: 305-577-8550 Fax: 305-571-8558 + www.abbrclaw,com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 27 of 50
Case 9:09-cv-80535-KMM Document’? Entered on FLSD Docket 04/06/2009 Page 26 of 49

k. using reasonable care in the installation of the drywall to prevent it from
containing Defects as set forth herein;

I. adequately waming and instructing the Plaintiff and Class Members of
the Defects associated with drywall;

m. properly manufacturing the drywall to prevent it from containing the

Defects as set forth herein;

n. properly selecting the gypsum that did not contain excessive levels of
sulfur;
0. recalling or otherwise notifying users at the earliest date that it became

known that the drywall was dangerous and Defective;

p. advertising and recommending the use of drywall with sufficient
knowledge as to its manufacturing defect and dangerous propensities;

q. not misrepresenting that the drywall was safe for its intended purpose
when, in fact, it was not;

r. not manufacturing drywal] in a manner which was dangerous to its
intended and foreseeable users;

s. not exporting and/or importing drywall in a manner which was
dangerous to its intended and foreseeable users;

t. not distributing, delivering, and/or supplying drywall in a manner which
was dangerous to its intended and foreseeable users;

u. not concealing information from Plaintiff and Class Members regarding

reports of adverse effects associated with drywall;

ALTERS BOLDT| BROWN | RASH CULMO

Miami Design District, 4141 Northeast 2nd Avenue + Sulte 201 - Miami, FL 33137 - Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 28 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 27 of 49

V. not improperly concealing and/or misrepresenting information from the
Plaintiff and Plaintiff Class Members and/or the public, concerning the
severity of risks and dangers of Defendants’ drywall and/or the

manufacturing Defect; and
Ww. otherwise exercising reasonable care in the design, manufacturing,
exporting, importing, distributing, delivering, supplying, inspecting,
marketing, and/or selling drywall to prevent it from containing Defects

as set forth herein.

117. Defendants were negligent and breached their duty to exercise reasonable
care in the design, manufacture, export, import, distribution, delivery, supply, inspection,
instaJlation, marketing, and/or sale of drywall, including a duty to adequately warn of its

failure to do the same. Defendants’ negligence included, but was not limited to the

following:

a. failing to use reasonable care in the design of the drywall 10 prevent it
from containing Defects as set forth herein;

b. failing to use reasonable care in the manufacturing of the drywall to
prevent it from containing Defects as set forth herein:

c. failing to use reasonable care in the exporting of the drywall to prevent it
from containing Defects as set forth herein;

d, failing to use reasonable care in the importing of the drywall to prevent it
from containing Defects as set forth herein;

e. failing to use reasonable care in the distributing of the drywall to prevent

it from containing Defects as set forth herein;

ALTERS | BOLDT | BROWN | RASH | CULMO

Miami Design District, q1g1 Northeast 2nd Avenue - Suite 201 - Miami, FL 33397 - Telephone: 305-571-8550 Fax: 305-571-8558 +> www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 29 of 50

Case 9:09-cv-80535-KMM Document 1

Miami Design District, 4141 Northeast 2nd Avenue - Suite 201 + Miami, FL 33137 - Telephone: 305-571-8950 Fax: 305-571-8558 - wewew.abbrclaw.com

failing to use reasonable care in the delivering of the drywall to prevent it
from containing Defects as set forth herein;

failing to use reasonable care in the supplying of the drywall to prevent it
from containing Defects as set forth herein;

failing to use reasonable care in the inspecting of the drywall to prevent
it from containing Defects as set forth herein;

failing to use reasonable care in the marketing of the drywall to prevent it
from containing Defects as set forth herein;

failing to use reasonable care in the selling of the drywall to prevent it
from containing Defects as set forth herein;

failing to use reasonable care n the installation of the drywall to prevent
ii from containing Defects as set forth herein;

failing to adequately warn and instruct the Plaintiff and Class Members
of the Defects associated with drywall;

failing to properly manufacture the drywall to prevent it from containing
the Defects as set forth herein;

failing to properly select the gypsum that did not contain excessive levels
of sulfur;

failing to recall or otherwise notify users at the earliest date that it
became known that drywall was dangerous and Defective;

advertising and recommending the use of drywall without sufficient

knowledge as to its manufacturing Defect and dangerous propensities;

ALTERS | BOLDT | BROWN | RASH | CULMO

Entered on FLSD Docket 04/06/2009 Page 28 of 49

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 30 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 29 of 49

q. misrepresenting that drywall was safe for its intended purpose when, in
fact, it was not;

Tr. manufacturing drywall in a manner which was dangerous to Its intended
and foreseeable users;

s. exporting and/or importing drywal! in a manner which was dangerous to
iis intended and foreseeable users;

t. distributing, delivering, and/or supplying drywall in a manner which was
dangerous to its intended and foreseeable users;

u. concealing information from Plaintiff and Class Members regarding
reports of adverse effects associated with drywall;

v. improperly concealing and/or misrepresenting information from the
Plaintiff and Class Members and/or the public, concerning the severity of
risks and dangers of Defendants’ drywall and/or the manufacturing
Defect; and

Ww. failing to otherwise exercise reasonable care in the design, manufacture,
export, import, distribution, delivery, supply, inspection, market,
installation and/or sale of drywall to prevent it from containing Defecis
as set forth herein.

118. Asa direct and proximate cause of Defendants’ acts and omissions, Plaintiff
and Class Members have incurred economic and other damages and are entitled to recover
monetary damages for: replacement/repair of their homes; the removal and replacement of
ail of the drywall contained in their homes; the replacement of Other Property (air-

conditioner and refrigerator coils, microwaves, faucets, utensils, copper tubing, electrical

ALTERS | BOLDT| BROWN RASH | CULMO

Miami Design District, 4141 Northeast 2nd Avenue - Suite 201 - Miami, FL 33337 - Telephone: 305-571-3550 Fax: 305-571-8558 » www.abbrclaw.cam

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 31 of 50
Case 9:09-cv-80535-KMM Document 1 Entered on FLSD Docket 04/06/2009 Page 30 of 49

wiring, computer wiring, personal property, furnishings, electronic appliances, and other
metal surfaces and household items); and the repair and/or replacement of any materials
contaminated or corroded by the drywall.

119. Asa direct and proximate cause of Defendants’ acts and omissions, Plaintiff
and Class Members have incurred or will incur incidental and consequential damages for
the costs of moving while homes are being repaired; renting of comparable housing during
the duration of the repairs; the cost of repair or replacement of the homes; the loss of use
and enjoyment of real property; the loss in value of the home due to the stigma attached to
having defective drywall in the home; and other related expenses.

120. Asa direct and proximate cause of Defendants’ acts and omissions, Plaintiff
and Class Members have incurred personal injuries and are experiencing or at risk of
experiencing serious and dangerous health hazards including economic and non-economic
damages resulting from the adverse health effects.

12]. Defendants knew or should have known that their wrongful acts and
omissions would result in economic, incidental, and consequential damages in the manner
set forth herein.

COUNT H

NEGLIGENCE PER SE
(Against all Defendants)

122. Plaintiff incorporates and restates paragraphs 1-114 as if fully set forth

herein.

123. Defendants breached their duties to Plaintiff and the proposed class by
failing to exercise reasonable care in manufacturing, inspecting, distributing, selling and

installing the drywall.

ALTERS | BOLDT | BRAWN | RASH | CULMO

Miami Design District, 4141 Northeast 2nd Avenue + Suite 201 + Miami, FL 39137 - Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 32 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 31 of 49

124. Defendants likewise breached their duties to Plaintiff and the proposed class
by failing to warn Plaintiff and the proposed class about the defective nature of the
drywall, which both malfunctioned and generated untoward side-effects. Defendants,
through the exercise of reasonable care, knew or should have known the nature of the
drywall and the adverse effects that it could have on the health of the homes it was used to
build and the individuals within them.

125. Given the defects of the Defendants’ drywall, Defendants knew or should
have known that their product could, and would, cause both economic and physical
damage to the members of the class.

126. Economic damages include, but are not limited to, substantia] reconstruction
and repair of Plaintiff's and proposed Class Members’ homes, as well as any medical
expenses incurred as a result of Defendants’ drywall, which are in many instances
considerable.

127. Defendants’ drywall was the proximate cause of both economic and physical
damage brought upon the Plaintiff and members of the class.

128. Asa direct and proximate cause of Defendants’ acts and omissions, Plaintiff
and Class Members have incurred personal injuries and are experiencing or at risk of
experiencing serious and dangerous health hazards including economic and non-economic
damages resulting from the adverse health effects.

129, Due to Defendants’ negligence, Plaintiff, members of the Class and the

public at Jarge will continue to suffer economic and physical damages.

ALTERS BOLDT| BROWN | RASH | CULMO

Miami Design Disteict, 4141 Northeast znd Avenue - Suite 201 - Miami, FL 33937 + Telephone: 305-571-8550 Fax; 305-571-8558 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 33 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 32 of 49

130. Although Defendants knew or should have known about the defects of their
drywall product, Defendants nevertheless continued to manufacture the product and sell it
to Plaintiff, members of the class and the public at large.

COUNT Ii

STRICT LIABILITY
(Against all Defendants)

13]. Plaintiff incorporates and restates paragraphs 1-114 as if fully set forth
herein.

132. Defendants were responsible for the manufacturing, inspecting, distributing,
selling and installing of the drywall at issue.

133. By the time Defendants’ drywall left Defendants’ hands, the risks associated
with the product far outweighed its benefits.

134. Further, by the time Defendants’ drywall left Defendants’ hands, they knew,
or should have known, the product was unsafe, defective, and could cause serious physical
and economic harm to Plaintiff and members of the proposed class.

135. Defendants had a duty to provide Plaintiff, the proposed class and the
general public with a safe and properly functioning product. This is a duty Defendants
failed to uphold.

136. Because Defendants’ product created an unreasonable risk to Plaintiff's and
proposed class members’ homes and persons, Defendants are strictly liable for economic
and physical injuries to Plaintiff and members of the proposed Class.

137. No prudent buyer of Defendants’ preduct could be expected to determine on

his or her own that Defendants’ product was dangerous and defective.

ALTERS | BOLDT| BROWN | RASH | CULMO

Miami Design District, 414i Northeast znd Avenue » Suite 201 + Miami, FL 33137 + Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrclaw.cam

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 34 of 50
Case 9:09-cv-80535-KMM Document 1 Entered on FLSD Docket 04/06/2009 Page 33 of 49

138. Defendants not only manufactured, inspected, distributed, sold and/or
installed a poorly designed and defective drywall, but also failed to give Plaintiff and the
proposed class adequate warning regarding the risks associated with Defendants’ product.

139. Defendants’ drywall was a substantial factor in the economic and physical
losses that have been, and continue to be, incurred by the Plaintiff and proposed class.

140. Asa direct and proximate cause of Defendants’ acts and omissions, Plaintiff
and Class Members have incurred personal injuries and are experiencing or at risk of
experiencing serious and dangerous health hazards including economic and non-economic
damages resulting from the adverse health effects.

141. Economic losses include, but are not Hmited to, substantial reconstruction
and repair of Plaintiff's and proposed Class Members’ homes, damage to property other
than the Plaintiff's and Class Members’ homes, as well as any medical expenses incurred
as a result of Defendants’ drywall, which are in many instances considerable.

COUNT IV

BREACH OF EXPRESS WARRANTY
(Against all Defendants)

142, Plaintiff incorporates and restates paragraphs 1-121 as if fully set forth
herein.

143. Defendants expressly warranted thai the drywall they manufactured,
distributed, and/or installed was safe, efficacious, well tested and of high quality.

144. By manufacturing, distributing, selling and/or installing a defective, unsafe,
and poorly manufactured drywall product, Defendants have breached their express

warranty.

145. Defendants knew or should have known that their warranties were specious.

ALTERS | BOLDT| BRaWN RASH | cuLMOo

Miami Design District, 4141 Northeast and Avenue - Suite 201 - Miamt, FL 33137 ~ Telephone: 305-571-8550 Fax: 305-571-8958 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 35 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 34 of 49

146. Plaintiff and the proposed Class and/or their representatives relied on these
express warranties to their detriment.
147. As a direct result of this breach of expressed warranty, physical and

economic damages have been, and continue to be, incurred by Plaintiff and the proposed

Class.
COUNT V
BREACH OF IMPLIED WARRANTIES
(Against all Defendants)
148. Plaintiff incorporates and restates paragraphs 1-114 as if fully set forth
herein.

149. When Defendants manufactured, distributed, sold, and/or installed their
drywall to Plaintiff and the proposed class, Defendants implicitly warranted that the
product was safe, efficacious, well tested and of high quality. Plaintiff and members of the
proposed class are beneficiaries of these warranties.

150. By manufacturing, distributing, selling, and/or installing a defective, unsafe,
and poorly manufactured drywall product, Defendants have breached their implied
warranties.

151. These implied warranties were relied on by Plaintiff and the proposed class
and/or their representatives, because it is understood that Defendants have knowledge as to
the quality, safety and efficacy of the drywall they manufacture, distribute, sell, and/or
install.

152. Asa direct result of this breach of implied warranty, physical and economic

damages have been, and continue to be, incurred by Plaintiff and the proposed class.

ALTERS | BOLDT| BROWN | RASH | CULMO

Miami Design District, 414i Northeast 2nd Avenue - Suite 207 - Miami, FL 33137 - Telephone: 305-571-8550 Fax: 305-571-8558 » www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 36 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 35 of 49

COUNT VI

FRAUDULENT CONCEALMENT
(Against all Defendants)

153. Plaintiff incorporates and restates paragraphs 1-121 as if fully set forth
herein.

154. Defendants knew or should have known that Defendants’ drywall was
defective, unsafe and poorly manufactured.

155. Defendants fraudulently concealed that Defendants’ drywall was defective,
unsafe and poorly manufactured.

156. Defendants knew or should have known that their drywall would cause
corrosion of, among other things, electrical wiring, air conditioner coils, plumbing and
other personal property throughout the effected homes.

157. Defendants fraudulently concealed that their drywall caused damage to,
among other things, electrical wiring, air conditioner coils, plumbing and other personal
property throughout the effected homes.

158. Defendants fraudulently concealed that they had received and/or otherwise
learned of complaints regarding their drywall product.

159. Defendants’ above-mentioned concealments of key facts regarding the
Defendants’ drywall resulted in physical and economic damages that have been, and
continue to be, incurred by Plaintiff and the proposed class.

160. As a result of the Defendants’ fraudulent concealments regarding their
drywall product, physical and economic damages have been, and continue to be, incurred

by Plaintiffs and the proposed class.

ALTERS | BOLDT| BRQWN | RASH | CULMO

Miami Design District, 4141 Northeast 2nd Avenue - Suite 201 - Miami, FL 33137 « Telephone: 305-571-8550 Fax: 305-571-8558 + www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 37 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 36 of 49

161. Asa direct and proximate cause of Defendants’ acis and omissions, Plaintiff
and Class Members have incurred personal injuries and are experiencing or at risk of
experiencing serious and dangerous health hazards including economic and non-economic
damages resulting from the adverse health effects

COUNT VI

FRAUDULENT MISREPRESENTATION
(Against all Defendants)

162. Plaintiff incorporates and restates paragraphs 1-114 as if fully set forth
herein.

163. Defendants fraudulently alleged to the Plaintiff, the proposed class, and the
public that the Defendants’ drywall was safe, efficacious, well tested and of high quality.

164. Defendants knew the above-mentioned representations made to Plaintiff, the
proposed class, and the public were specious and fraudulent. These representations were
made recklessly and with the intent of defrauding Plaintiff, the proposed Class and the
public.

165. Defendants’ drywall was installed in Plaintiffs and proposed class
members’ homes in reliance of the veracity of the above-mentioned fraudulent
representations.

166. Asaresult of Defendants’ fraudulent representations regarding their drywall
product, physical and economic damages have been, and continue to be, incurred by
Plaintiff and the proposed Class.

167. Asa direct and proximate cause of Defendants’ acts and omissions, Plaintiff

and Class Members have incurred personal injuries and are experiencing or at risk of

ALTERS | BOLDT | BRAWN | RASH | CULMO

Miami Design District, 4147 Northeast 2nd Avenue + Suite 201+ Miami, FL 33137 - Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 38 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 37 of 49

experiencing serious and dangerous health hazards including economic and non-economic
damages resulting from the adverse health effects.
COUNT Vill

NEGLIGENT MISREPRESENTATION
(Against All Defendants)

168. Plaintiff incorporates and restates paragraphs 1-114 as if fully set forth
herein,

169. As discussed herein, Defendants fundamentally misrepresented material
facts regarding the characteristics of the drywall and omitted other material facts that
should have been disclosed to Plaintiff and the Class.

170. In disseminating information regarding the drywall Defendants negligently
caused statements to be made, which they knew or should have known were inaccurate
and untrue.

171. Asa direct consequence of the Defendants* negligent misrepresentations and
omissions of material facts regarding the defective drywall, Plaintiff and the class will be
irreparably harmed and otherwise damaged in an amount which cannot presently be
calculated.

172. Asa direct and proximate cause of Defendants’ acts and omissions, Plaintiff
and Class Members have incurred personal injuries and are experiencing or at risk of
experiencing serious and dangerous health hazards including economic and non-economic

damages resulting from the adverse health effects.

ALTERS | BOLDT| BREWN | RASH | CULMO

Miami Design District, 4141 Northeast 2nd Avenue + Sulte zo1 + Miami, FL 33137 - Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 39 of 50
Case 9:09-cv-80535-KMM Document i Entered on FLSD Docket 04/06/2009 Page 38 of 49

COUNT Ix

UNJUST ENRICHMENT
(Against all Defendants)

173. Plaintiff incorporates and restates paragraphs 1-114 as if fully set forth
herein.

174. Each Defendant individually and collectively profited from the sale of the
defective drywall io Plaintiff and the Class, receiving payment themselves or through an
agent. Defendants received payment for the defective drywall and have retained those
sums to the detriment of Plaintiff and the Class.

175. Defendants’ receipt and retention of the profits gamed by sale of the
defective drywall to Plaintiff and the proposed Class is unjust and inequitable.

176. Asa direct and proximate result of Defendants conduct complained of herein
Plaintiff and the Class have sustained substantial damages, including, but not limited to:
the removal and replacement of the defective drywall and/or the homes, replacement of
any and mechanical and structural systems damaged in the homes, replacement of personal
and other property damaged, costs of moving to alternative housing while repairs are
made, costs of comparable alternative housing, loss of use and enjoyment of their homes
and compensation for the reduced value of the homes as the result of perception of the
homes as tainted by the defective drywall.

177. Defendants knew or should have known of the damages their defective

drywall would cause as described herein.

ALTERS | BOLDT | BRQWN RASH | CULMO

Miami Design District, 4141 Northeast and Avenue - Suite 201 - Miami, FL 39137 « Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 40 of 50
Case 9:09-cv-80535-KMM Document 1 Entered on FLSD Docket 04/06/2009 Page 39 of 49

COUNT X

BREACH OF CONTRACT
(Against Northstar Homes)

178. Plaintiff incorporates and restates paragraphs 1-114 as if fully set forth
herein.

179. Plaintiff and the Class offered and the Northstar Defendants accepted sums
of money in exchange for an agreement to build homes.

180. Upon information and belief each agreement entered into by Plaintiff and the
Class for construction of their homes warranted that the homes would be free from defects.

181, The presence of the defective drywall, which “off-gases” sulfur is a violation
of Plaintiff's agreement, and upon information and belief, the contracts of each and every
member of the Class.

182. As a direct consequence of the breaches of contract described above,
Plaintiff and the Class have sustained substantial damages, including, but not limited to:
the removal and replacement of the defective drywall and/or the homes, replacement of
any and mechanical and structural systems damaged in the homes, replacement of personal
and other property damaged, costs of moving to alternative housing while repairs are
made, costs of comparable alternative housing, loss of use and enjoyment of their homes
and compensation for the reduced value of the homes as the result of perception of the

homes as tainted by the defective drywall.

ALTERS | BOLDT| BROWN | RASH | CULMO

Miami Design District, 4141 Northeast 2nd Avenue + Suite 201 - Miami, FL 33137 - Telephone: 305-571-8550 Fax: 305-571-8558 - www. bbrelaw.cam

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 41 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Decket 04/06/2009 Page 40 of 49

COUNT XI

PRIVATE NUISANCE
(Against all Defendants)

183. Plaintiff adopts and restates the preceding paragraphs 1-114 as if fully set
forth herein.

184. The acts and/or omissions of Defendants have caused injury to Plaintiff and
the Class by, among other things, depriving Plaintiff and the Class of the quiet enjoyment
of their property.

185. Defendants’ acts and/or omissions are wrongful and/or tortious, jeopardizing
the health, wellbeing and safety of Plaintiff and the Class. Defendants knew their acts
and/or omissions were wrongful or they should have known and the harm to Plaintiff and
Class is ongoing.

186. As a direct consequence of Defendants’ private nuisance Plaintiff and the
Class have suffered, and continue to suffer, substantial damages to their property and to
themselves as described herein.

187. Asa direct and proximate cause of Defendants’ acts and omissions, Plaintiff
and Class Members have incurred personal injuries and are experiencing or at risk of
experiencing serious and dangerous health hazards including economic and non-economic
damages resulting from the adverse health effects.

COUNT XI

EQUITABLE RELIEF, INJUNCTIVE RELIEF AND MEDICAL MONITORING
(Against All Defendants)

188. Plaintiff incorporates and restates paragraphs 1-114 as if fully set forth

herein.

ALTERS | BOLDT| BRAGWN | RASH | CULMO

Miami Design District, 4441 Northeast 2nd Avenue - Suite 201 + Miami, FL 33197 - Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 42 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 41 of 49

189. Because no adequate remedy exists for the conduct of Defendants, equitable
and injunctive relief ts appropriate.

190. Plaintiff and the Class will suffer irreparable injury if the Court does not
order injunctive relief and medica] monitoring.

191. Plaintiff on behalf of herself and the Class demands that Defendants: (A)
recall, repurchase and/or repair Plaintiff's and the Class Members’ homes; (B) initiate and
pay for a medical monitoring program under Florida law; (C) identify, at their own
expense, each and every home with the defective drywall, if necessary, testing every home
in which the defective drywall may potentially be found.

192. Medical monitoring is a necessary component of the relief the Court should
order because some of the sulfur compounds being emitted from the defective drywall are
very hazardous. For example, Hydrogen Sulfide (“H25S”), one of the compounds found in
the drywall is a broad-spectrum poison — meaning it can attack more than one system of
the body simultaneously. H2S most commonly affects the central nervous system.
Through a complex reaction the H2S prevents oxygen from reaching cells in the body,
essentially preventing them from “breathing.”

193. As a direct consequence of the wrongful and/or tortious acts and/or
omissions of Defendants’ conduct, Plaintiff and the Class (among them, small children and
senior citizens) have been exposed to H2S in quantities sufficient to harm them.

194. Until it has been conclusively established that all defective drywall] has been
removed and that air quality is safe Defendants should bear the expense of air and

environmental monitoring in each and every home with defective drywall.

ALTERS | BOLDT | BROWN | RASH | CULMO

Miami Design District, 141 Northeast 2nd Avenue - Suite 201 > Miami, FL 33137 - Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrelaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 43 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 42 of 49

COUNT XU
VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE
PRACTICES ACT
(All Defendants)

195, Plaintiff incorporates and restates paragraphs 1-114 as if fully set forth
herein.

196. This is an action for relief under section 501.201, et. seq., Florida Statutes
(The Florida Deceptive and Unfair Trade Practices Act).

197. Section 501.203(7), Florida Statutes defines ‘‘Consumer” as “an individual;
child, by and through its parent or legal guardian; firm; association; joint venture;
partnership; estate; trust; business trust; syndicate; fiduciary; corporation; or any other
group or combination.” Plaintiff and Class Members are “Consumers” within the meaning
of §501.203(7), Florida Statutes.

198. Section 501.203(8), Florida Statutes defines “Trade or Commerce” as:

[T]he advertising, soliciting, providing, offering, or distributing, whether by

sale, rental, or otherwise, of any good or service, or any property, whether

tangible or intangible, or any other article, commodity, or thing of value,

wherever situated. “Trade or Commerce” shall include the conduct of any

trade or commerce, however denominated, including any nonprofit or not-

for-profit person or activity.

199. The advertising, soliciting, providing, offering, or distributing of drywall by
Defendants to Plaintiff and Class Members is “Trade or Commerce” within the meaning of
section 501.203(8), Florida Statutes.

200. Section 501.204(1) provides that: “{ujnfair methods of competition,
unconscionable acts or practices, and unfair or deceptive acts or practices in the conduct of

any irade or commerce are hereby declared unlawful.” The Defendants acts and omissions

as well as their failure to use reasonable care in this matter as alleged in this Complaint

ALTERS | BOLDT | BREWN | RASH | cCULMO

Miami Design District, 414i Northeast 2nd Avenue + Suite 201 - Miami, FL 33137 - Telephone: 305-571-8540 Fax: 305-571-8558 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 44 of 50
Case 9:09-cv-80535-KMM Document1 [Entered on FLSD Docket 04/06/2009 Page 43 of 49

equals unconscionable acts or practices, as well as deceptive and unfair acts or practices in
the conduct of Defendants’ trade or commerce pursuant to section 501 204, Florida
Statutes.

201. The unconscionable, illegal, unfair and deceptive acts and practices of
Defendants violate the provisions of Florida’s Deceptive and Unfair Trade Practices Act.
Plaintiff and Class Members have suffered actual damage for which they are entitled to
relief pursuant to section 501.211(2), Florida Statutes.

202. Plaintiff and Class Members are entitled to recover their reasonable
attorneys’ fees pursuant to section 501.2105, Florida Statutes upon prevailing in this
matter.

203. Asa direct and proximate cause of Defendants’ acts and omissions, Plaintiff
and Class Members have incurred economic damages and are entitled to recover monetary
damages for: replacement/repair of their homes; the removal and replacement of all of the
drywall contained in their homes; the replacement of Other Property (air-conditioner and
refrigerator coils, microwaves, faucets, utensils, copper tubing, electrical wiring, computer
wiring, personal property, electronic appliances, and other metal surfaces and household
items); and the repair and/or replacement of any materials contaminated or corroded by the
drywall.

204. Asa direct and proximate cause of Defendants’ acts and omissions, Plaintiff
and Class Members have incurred or will incur incidental and consequential damages for
the costs of moving while homes are being repaired; renting of comparable housing during

the duration of the repairs; the loss of use and enjoyment of real property; the loss in value

ALTERS | BOLODT | BRQWN | RASH | CULMO

Miami Design District, 4141 Northeast and Avenue + Suite 201 - Miamnl, FL 33137 - Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbiclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 45 of 50
Case 9:09-cv-80535-KMM Document 1 Entered on FLSD Docket 04/06/2009 Page 44 of 49

of the home due to the stigma attached to having defective drywall in the home; and other
related expenses.
COUNT XIV

BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
(All Defendants)

205. Plaintiff incorporates and restates paragraphs 1-114 as if fully set forth
herein.

206. Defendants were in privity with Plaintiff and Class Members.

207. At the times Defendants installed, utilized, supplied, inspected, and/or sold
drywall for use in the Plaintiffs and Class Members’ homes. Defendants knew, or it was
reasonably foreseeable, that the drywall would be installed in the Plaintiff's and Class
Members’ homes for use as a building material, and impliedly warranted the product to be
fit for that use.

208. Defendants’ drywall product was placed into the stream of commerce by
Defendants in a defective condition and the defective drywall was expected to, and did,
reach users, handlers, and persons coming into contact with said product without
substantial change in the condition in which they were sold.

209. The drywall was defective because it was not fit for the uses intended or
reasonably foreseeable by Defendants; to wit, the installation of the drywall in Plaintiff's
and Class Members’ homes for use as a building material, because it contained defects as
set forth herein.

210. The Defendants breached the implied warranty of merchantability because
the drywall was not fit to be installed in Plaintiff's and Class Members’ homes as a

building material due to the defects set forth herein.

ALTERS | BOLDT | BROWN | RASH | CULMOQ

Miami Design District, 4141 Northeast and Avenue - Suite 201 - Miami, FL 33137 - Telephone: 305-571-8550 Fax: 305-571-8558 ° www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 46 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 45 of 49

211. Defendants had reasonable and adequate notice of the Plaintiff's and the
Class Members’ claims for breach of implied warranty of merchantability and failed to
cure.

212. Asa direct and proximate cause of Defendants’ acts and omissions, Plaintiff
and Class Members have incurred economic damages and are entitled to recover monetary
damages for: replacement/repair of their homes; the removal and replacement of all of the
drywall contained in their homes; the replacement of Other Property (air-conditioner and
refrigerator coils, microwaves, faucets, utensils, copper tubing, electrical wiring, computer
wiring, personal property, electronic appliances, and other metal surfaces and household
items); and the repair and/or replacement of any materials contaminated or corroded by the

drywall.

213. Asa direct and proximate cause of Defendants’ acts and omissions, Plaintilf
and Class Members have incurred or will incur incidental and consequential damages for
the costs of moving while homes are being repaired; renting of comparable housing during
the duration of the repairs; the loss of use and enjoyment of real property; the loss in value
of the home due to the stigma attached to having defective drywall in the home; and other
related expenses.

214. Defendants knew or should have known that their wrongful acts and

omissions would result in economic, incidental, and consequentia! damages in the manner

set forth herein.

ALTERS | BOLDT| 8 RGWN | RASH | CULMO

Miaml Design District, 4141 Northeast 2nd Avenue - Suite 201 - Miami, FL 33137 + Telephone: 305-571-8550 Fax: 305-571-8558 - www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 47 of 50
Case 9:09-cv-80535-KMM Document1 Entered on FLSD Docket 04/06/2009 Page 46 of 49

COUNT XV
BREACH OF IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR
PURPOSE
(Ali Defendants)

215. Plaintiff incorporates and restates paragraphs 1-114 as if fully set forth
herein.

216. Defendants were in privity with Plaintiff and Class Members.

217. Defendants’ drywall product was placed into the stream of commerce by
Defendants in a defective condition and was expected to, and did, reach users, handlers,
and persons coming into contact with said product without substantial change in the
condition in which it were sold.

218. The drywall was defective because it was not fit for the specific purpose of
installing in the Plaintiffs and Class Members’ homes as a building material, for which
Plaintiffs and Class Members bought the product in reliance on the judgment of
Defendants.

219. The Defendants breached the implied warranty of fitness for a particular
purpose because the drywall was not fit to be instaijed in Plaintiff's and Class Members’
homes as a building material due to the defects set forth herein.

220. Defendants had reasonable and adequate notice of the Plaintiff's and the
Class Members’ claims for breach of implied warranty of merchantability and failed to
cure.

221. Asa direct and proximate cause of Defendants’ acts and omissions, Plaintiff
and Class Members have incurred economic damages and are entitled to recover monetary

damages for: replacement/repair of their homes; the removal and replacement of all of the

ALTERS | BOLDT BREWN | RASH | CULMO

Miami Design District, q141 Northeast 2nd Avenue « Suite 201 - Miami, FL 33737 + Telephone: 305-571-8550 Fax: 305-571-8558 « www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 48 of 50
Case 9:09-cv-80535-KMM Document 1 Entered on FLSD Docket 04/06/2009 Page 47 of 49

drywall contained in their homes; the replacement of Other Property (air-conditioner and
refrigerator coils, microwaves, faucets, utensils, copper tubing, electrical wiring, computer
wiring, personal property, electronic appliances, other metal surfaces and household
items); and the repair and/or replacement of any materials contaminated or corroded by the
drywall.

222. Asa direct and proximate cause of Defendants’ acts and omissions, Plaintiff
and Class Members have incurred or will incur incidental and consequential damages for
the costs of moving while homes are being repaired; renting of comparable housing during
the duration of the repairs; the loss of use and enjoyment of real property; the loss in value
of the home due to the stigma attached to having defective drywall in the home; and other
related expenses.

223. Defendants knew or should have known that their wrongful acts and
omissions would result in economic, incidental, and consequential damages in the manner

set forth herein.

DEMAND FOR TRIAL BY JURY

Plaintiff, individually and on behalf of the Class Members, hereby demands a trial by jury

as to all issues so triable as a matter of right.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff on behalf of herself and on behalf of a class of others similarly
situated, requests that this Honorable Court grant the following relief:

a. An order certifying this action to be a proper class action pursuant to Federal Rule

of Civil Procedure 23, establishing an appropriate class, finding that Plaintiff is a

proper representative of the class and that her counsel is appropriate class counsel;

ALTERS | BOLDT | BRGWN | RASH | CULMO

Miami Design District, 4141 Northeast 2nd Avenue « Suite 201 - Miami, FL 33137 - Telephone: 305-571-8550 Fax: 305-571-8558 + www.abbrclaw.com

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 49 of 50

Case 9:09-cv-80535-KMM Document 1

Entered on FLSD Docket 04/06/2009 Page 48 of 49

b. An order requiring that Defendants pay compensation to Plaintiff and the class

members to the full extent permitted by the law;

ce. Anorder requiring medica] monitoring;

d. Costs and expenses in this litigation, including, but not limited to, expert fees,

filing fees, and reasonable attorneys’ fees; and

e, Such other relief as the Court may deem just and appropriate.

Dated: April 3, 2009

Respectfully submitted,

ALY

Jeremy W. Alters (Fla/ Bar No. 111790)
Kimberly L. Boldt (Fla. Bar No. 957399)
Beth Tyler Vogelsang (Fla. Bar No. 509401)
Alters Boldt Brown Rash Culmo

414] NE 2nd Avenue

Suite 20]

Miami, FL 33137

(305) 571-8550 phone

(305) 571-8558 fax

jeremy(@abbrclaw.com

kimberly@@abbrclaw.com
beth@abbreclaw.com

lan L. Kleinman (Fla. Bar No. 307490)
Law Offices of Wolf and Pravato

2101 W. Commercial Blvd.

Suite 1500

Fort Lauderdale, FL 33309

(954) 522-5800 phone

(954) 767-0960 fax
ian(@wolfandpravato.com

ALTERS BOLDT| BROWN | RASH | cuLMOa

Miami Design District, 4141 Northeast 2nd Avenue + Suite 201 - Miami, FL 33137 + Telephone: 305-571-8550 Fax: 305-571-8558 + www.abbrclaw.com

DI-

Case 2:09-md-02047-EEF-MBN Document 2460-2 Filed 04/13/10 Page 50 of 50
Case 9:09-cv-80535-KMM Document? Entered on FLSD Docket 04/06/2009 Page 49 of 49

“2 J8 44 Hey 2th

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein nerther replace war supplement the fling and service of pleadings er olber papers as required by law, except as provided
by locaf rules of coun. This form, approved by the Judicial Conference of the United Stutes in September 1974, is eequired fer the use of he Clerk of Coun for the purpose of inauating
the civil docket sheet. (SLE INSTRUCTIONS ON THE REVERSE DE THE FOWM } NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.

L. (a} PLAINTIFFS DEFENDANTS

KATHERINE L. FOSTER, on behalf of herself individually and all NORTHSTAR HOLDINGS, INC., a Florida corporation:
others similarly situated NORTHSTAR HOMES, INC., a Florida comoration, et al.

(b) Counay of Residence of First Listed Plaintiff Palm Beach County County of Residence of First Listed Defendant Palm Beach County
(EXCEPT IN US. PLAINTIFF CASES) (iN U.S. PLAINTIFF CASES ONLY)

In LAND CONDEMNATION CA
LAND INVOLVED.

diel TL OCATION OF THE TRACT

FILED by ACTS pc.
APR ~ 3 2608

NOTE

{c}) Attomey’s (Firm Name, Address, and Telephone Number)

Alters, Boldt, Brown, Rash & Culmo, P.A.
464] NE 2nd Avenue, Suite 205

Miami, FL 33137 / (305) 571-8550
Ou 805 25— (khn /Sdlzer
JT BhOW ARN v1 PALA BEALE

day Check County Where Action Arose

Allomcys (If Known}

IMIAMI- DANE 7 MPNROF 7 MARTIN, TD S7T.LUCIE

7 STEVEN Bi, AR Ee |

CLERKULS Dp

CT.
IE. BASIS OF JURISDICTION «(pte anc xe none fos Only Hi. CITIZENSHIP OF PRINCIPAL PARTIE. B..GLFLA in patagyyion Midi
(For Diversily Cases Untyk and Une Gis forest
Dt US. Gaycinmeas 33 Peder! Guestign PEF BEF PTF EF
Plainnff {U.8 Govemments Nola Pray) Citizen of This Stage 7 1 mt Incoipotated ar Principat Place a L ¥t 4
nf Hhusingss Ia This Stale
4020 FS. Gavernment v2 4 Diversity Crizen of Another State 7 2 FA 7 Inverpaced ead Meincipad Place 1 5 15
: it lust 1
Defendani Undicate Citizenship nf Parties in lees 111) af Husiness In Another State
Citizen of Sebyrez ota a i 3G o3 Foreign Nation qT & 7 Ob
Furergs Country
[V. NATURE OF SUIT (Place en-X7 in One Sua Only)
| CONTRACT FORTS FORFEITURE/PENALTY BANKRUPTCY OTHEH STATUTES ]
Lit Insutaace PERSONAL INFURY PERSONAL INJURY [DO 610 Agriculture 3 422 Appes| 26 USC Tak S400 State Acappornionment
TD OIDM Marine J I10 Airplane T1262 Personal Injury - J #20 Other Food & Beup 7 423 Withdrawal D410 Antitrust
F118 Miller Aci TALS Airplane Product . Med. Malpractice 625 Drug Related Seizure 2HUSC 157 J 430 Banks and Banking
3140 Negotiable Instrument Liability t jury - of Property 71 4i5C BRI 3 45 Commerce
“E YS0 Recovery of Qecspayment [320 Assaut, Lihel & icuts bility To pdt Liquor haws PROPERTY RIGHTS 73 460 Deportation
& Entoscemens al Judgment Slander 3 ME Asbestos Fersunal | Ad RR. & Truck 3 RM Copyrights OAT Ruckeices (nlueneed and
TOES) Medivers Act ORIN Federak Lingployers’ lagury Product 3 oS Airline Aegs 77 KIO Patcat Corry Ospaniz ations
1 o182 Recovery of Defaulted Cishility Leabiliry 2 ft!) Oecupational A B40 Trademark = Abt Consumer Credit
Student Luany TOA Marine PERSONAL PROPERTY Safety Wealth F 440 Cable Sal TV
(Esch Vederanst T1445 Marine Prodget 7 V0 Other Fraud 7 put Other TF AID Scleytive Semis
153 Recovery OF Ge erpaymient Liability CFO OATL Treth in Lending LABOR SOCIAL SECURITY BORA Seuciness Careniadelics
uf ¥eiwton's Bene fits 7 OSAU Muto ¥ehuwly tT IRN Other Merspnal DFO Pen Lahn Stondands WT Het HiA gsI95 bachanpe
7 100 Stockholders’ Suite TWASS Motor Vckicle Property Damage Ave J Mh? Black bung (924) TO 87h Custumer Uhattenge
198 Uther Contract Peaducl Lishility ROARS Propeny Damaye TOT abs atp Hela, | 7 462 DEW DIWW Eldiph IP USC Mitt
714995 Cantracs Produce iahility | $60 Other Personal Meaduel (inbaliny TCO aber he A eperting DoWbt SSID Tile AVI 7 #YN ihe: Staluiry Achons
TF $96 Praachise Injury ® Bliachisure Aat ") HOS HST Anse AMT Agvicutuml Acts
{ REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS [1 74 Katleay d abur Act FEDERAL TAX SUITS TORY? Beanotnc Stabilization Act
J 210 Land Condemnation D447 Vonne 7 SP Motivate Vaca [7 790 Obes Labo Liligatea FORM Taare td) S Pisinilt FAP) bawironmentel Matters
oF Forectosure 7D 442 Employment Sentence 1 74t Empl Ret. tie Securay ur Dedendaaey J OAY4 Faesey Alincation Act
TOM stent Lease & Bjevimens 34) Howsiag Habres Corpus; act BP OBPL IAS ~The Party Tongs Free j
2 240 Tarts to Lend Accammad sions 3 S30 Cieavrwd oe USE 7H49 $ Freedum ad Information Act
TWAS Turd Frodgct i iatiilisy J 434 Welire 4) $45 Drath Penaliy ] DA IGE 4 Tiny 7 YR Appeul of Fee Dearrmination
435 Amer. wiDisebilities - 42 Natusalizguiien Under Equal Acyess to Justice
or Ral Property . an 2 -
a 24 All Other Real Propersy a Emplaysnent J 54 Mandamus & Other] 3 Applicunmn
440 Amer wiDisabilitics - : 463 Huobees Comus-Abcn
Othe: J $30 Cre Rights Detainee
ee, . aye 465 Other tramipravon 950 Cansttutiunndty of Statr
T7440 Other Civil Riphls 4 §484 Prison Condition a Actions Statutes
Y. ORIGIN (Place an "X7 in One Hoa Only} Ap eu) tx Eastricl
- : Transferred from vege Judge from
yil Original Oo 2 Remoxed from 17 3) Re-filed- 4 Reinstucdor (7 § another disiric, © 6 Mubtidistrict 7 Magistrate
recueding Sigte Court re VE bel one : itigatio
B (see VE below) Reopened (specify) Litigation Judument

a) Re-filed Cose OYES YINO b} Relaied Cases YES WNO

Vi. RELATED/RE-FILED
CASE({S).

tSee wnslnections
vecuenk pape): JUDGE DOCKET NUMBER

Che the U.S. Civil Staite under which you are filing and Write o Bricf Sttement of Cause (Bo not cite jurisdictional stututes untess
diversity):
28 USC Section 1332. Products liability action seeking recovery on a class basis for defective drywall. One (1)

Plaintiff ic ctiverce Fram one Defendant
LENGTH OF TRIAL via [0 days estimated (for both stitcs to try entire case}

Vil. CAUSE OF ACTION

VII. REQUESTED IN = 0) CHECK IF THIS 3S A CLASS ACTION DEMAND 5 CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 5,000,000.00 JURY DEMAND: 4 Ycs & No
ABOVE INFORMATION IS TRUE & CORRECT TO SIGNAJUF oAre Tey OF he onef } NaTE
THE BEST OF MY KNOWLEDGE MN i: April 3, 2009
ve

wun ft SSD. erecerrs B58 SRG
H/O8 109

